Case 1:21-cv-04591-DG-RLM Document 1-1 Filed 08/16/21 Page 1 of 26 PageID #: 5




                             EXHIBIT A
FILED: KINGS COUNTY CLERK 05/26/2021 10:09 AM                                                                                                                                                      INDEX NO. 512578/2021
         Case
NYSCEF DOC. NO.1:21-cv-04591-DG-RLM
                1                   Document 1-1 Filed 08/16/21 Page RECEIVED
                                                                     2 of 26 PageID #: 605/26/2021
                                                                               NYSCEF:




         SUPREME                     COURT                OF THE               STATE               OF      NEW YORK
         COUNTY                 OF KINGS
         ----------------                      ------------------------------                                              -----------X                                  Index       No.

         ANDREA                     COOMBS,
                                                                                                                                                                         SUMMONS
                                                                                    Plaintiff,
                                                                                                                                                                         Plaintiff         Designates
                                                  - against             -                                                                                                Kings                        as the
                                                                                                                                                                                       County
                                                                                                                                                                         Place       of    Trial

         LOWE'S                HOME               CENTERS,                     LLC,


                                                                                 Defendant.
         --------------------------------------------------------------------------------X

         Plaintiff's            Address:



         ANDREA                     COOMBS                     - 740         Lincoln                              Brooklyn              New         York          11208
                                                                                                 Avenue,


         Defendants'
                                      Addresses:



         LOWE'S                 HOME                   CENTERS,                     LLC           - 253-01
                                                                                                                    Rockaway                  Boulevard,             Rosedale              New      York       11422



         The      basis        of     the      Venue            is:    the     plaintiff           is domiciled               in      Kings         County.



         To     the     Above-Named                           Defendants:                  LOWE'S                 HOME                CENTERS,                    LLC:



         YOU           ARE           HEREBY                     SUMMONED                           and      required          to appear              in    the     Supreme             Court       of the     County


         of Kings             at the          office          of the        Clerk        of the        said      Court        at 360          Adams           Street,         Brooklyn,            New      York



         11201,         by      serving            an answer                 to the        annexed              Complaint              upon         plaintiff's            attorney,         at the    address



         stated        below           within           the     time         provided             by      law     as noted            below:



         Upon          your         failure        to    answer,             judgment              will         be taken        against          you       for     the      relief     demanded             in the



         Complaint,                 together             with         the    costs         of this        action.


         Dated:         May          26,       2021



         Law       Office            of     Stephen             H.     Frankel,            Attorneys              for    plaintiff,           825      East       Gate        Boulevard,            Suite      104,


         Garden             City,         New          York       11530,            (516)         742-0400.



         Note:         The          law       provides            that:




                                                                                                                 1 of 9
FILED: KINGS COUNTY CLERK 05/26/2021 10:09 AM                                                                                                                 INDEX NO. 512578/2021
         Case
NYSCEF DOC. NO.1:21-cv-04591-DG-RLM
                1                   Document 1-1 Filed 08/16/21 Page RECEIVED
                                                                     3 of 26 PageID #: 705/26/2021
                                                                               NYSCEF:




         (A)       If this    Summons         is served       by     its     delivery      to you,       or (for    a corporation)            an agent         authorized          to



         receive       service,      personally      within        the        County       of   Kings       you    must     answer        within      20     days     after     such



         service;       or



         (B)    If this       Summons        is served        otherwise            than     as designated           in    subdivision         (A)   above           you   are



         allowed         30   days    to   answer    after     the         proof    of    service       is filed   with     the   Clerk      of the        Court.




                                                                                          2 of 9
FILED: KINGS COUNTY CLERK 05/26/2021 10:09 AM                                                                                                                                                         INDEX NO. 512578/2021
         Case
NYSCEF DOC. NO.1:21-cv-04591-DG-RLM
                1                   Document 1-1 Filed 08/16/21 Page RECEIVED
                                                                     4 of 26 PageID #: 805/26/2021
                                                                               NYSCEF:




         SUPREME                  COURT                 OF THE               STATE              OF        NEW YORK
         COUNTY                  OF KINGS
         --------------------                                   ----------------                                    ----------------X                                         Index          No.

         ANDREA                  COOMBS,


                                                                            Plaintiff,                                                                                 VERIFIED                    COMPLAINT

                         - against          -



         LOWE'S                 HOME            CENTERS,                     LLC,


                                                                           Defendant.
         --------------------------------------------------------                                                                              -X
                        Plaintiff,         ANDREA                      COOMBS,                  as and             for    her         Verified             Complaint,            by her         attorneys,           the     LAW


         OFFICE             OF STEPHEN                          H.     FRANKEL,                     alleges              as follows:


                                                                                                                                                                                                                     LOWE'
         FIRST:           Uponinformation                            and     belief,         that     at all times                    hereinafter             mentioned,               the    defendant,                            S



         HOME            CENTERS,                    LLC         is a foreign             limited            liability                company              organized           and      existing          under        the   laws



         of    the    State       of North              Carolina.



         SECOND:                  Upon          information                     and      belief,            that         at     all     times            hereinafter            mentioned,             the        defendant,


         LOWE'S                 HOME            CENTERS,                     LLC         is a foreign                    limited             liability         company                duly     licensed         to     conduct



         business           in the        State         of New             York.



         THIRD:                 Upon       information                     and      belief          the      defendant                      LOWE'S             HOME              CENTERS,                  LLC         was       the



         owner         or lessee           of     the     Rosedale                 Lowe's            store         location                 (Store         # 2664)          located          at 253-01            Rockaway


         Boulevard,               Rosedale,              New          York         11422        on or about                     October              24,     2020       and     for     sometime             prior      thereto.



         FOURTH:                  Upon          information                  and       belief         the     defcñdant                     LOWE'S              HOME            CENTERS,                  LLC         operated



         the    Rosedale             Lowe's             store        location          (Store         # 2664)                 located          at 253-01            Rockaway                 Boulevard,              Rosedale,


         New         York         11422         on      or about             October            24,       2020           and          for    sometime               prior      thereto.



         FIFTH:             Upon         information                  and     belief         the      defendant                  LOWE'S                   HOME          CENTERS,                   LLC       managed             the



         Rosedale               Lowe's          store           location           (Store           # 2664)              located             at 253-01              Rockaway                 Boulevard,              Rosedale,


         New         York         11422         on      or about             October            24,       2020           and          for    sometime               prior      thereto.




                                                                                                               3 of 9
FILED: KINGS COUNTY CLERK 05/26/2021 10:09 AM                                                                                                                                                              INDEX NO. 512578/2021
         Case
NYSCEF DOC. NO.1:21-cv-04591-DG-RLM
                1                   Document 1-1 Filed 08/16/21 Page RECEIVED
                                                                     5 of 26 PageID #: 905/26/2021
                                                                               NYSCEF:




                                                                                                                                    LOWE'
         SIXTH:              Upon           information                  and        belief         the     defendant                                     S    HOME             CENTERS,                    LLC         controlled



         the     Rosedale                Lowe's         store         location            (Store         # 2664)            located          at 253-01              Rockaway                   Boulevard,                Rosedale,


         New         York          11422          on    or     about          October              24,     2020         and        for      sometime                prior        thereto.



         SEVENTH:                        That        at all     times          hereinafter                 mentioned                  and         for        some       time      prior         thereto,           the     plaintiff



         ANDREA                    COOMBS                    was       lawfully              on    the     aforesaid               premises                  as a patron.



         EIGHTH                    :That        on     October             24,      2020          defendant             LOWE'S                     HOME              CENTERS,                    LLC          had      control              of



         the     aforesaid               Rosedale             Lowe's              store      location            (Store        # 2664)              located          at 253-01                Rockaway              Boulevard,



         Rosedale,                New        York           11422          and         was        responsible                for      maintaining                   and        operating            said       premises                in     a



         reasonably                safe     condition                and      manner              for    the     purpose             of keeping                same         in a safe          condition            for        patrons



         thereof,           and      particularly               the        plaintiff            ANDREA                  COOMBS                      herein.



         NINTH:               That         on or about                October             24,     2020          and    for    sometime                   prior      thereto,            the    defendants                LOWE'S


         HOME            CENTERS,                      LLC           either        individually                 or by their               employee(s),                   agent(s)             and/or       servant(s)             were



         negligent,               reckless           and       careless             in    failing          to    keep        the         aisles         in    a reasonably                safe         condition            so as to



         allow        the         premises             to     be,      become              and          remain         in     a dangerous,                       defective,             hazardous                and      trap         like



         inherently               dangerous                 condition              consisting              of an unmanned                          pallet        jack       and     pallets         so as to permit                     the



         plaintiff           to    slip,     trip,      fall        and/or          otherwise              be precipitated                        to the         ground,           causing             serious         injuries             to



         the     plaintiff           ANDREA                    COOMBS                     herein.



         TENTH:                   That     the       defendant                LOWE'S                HOME               CENTERS,                         LLC       failed        to give         notice         or warning                   of



         the     aforesaid                dangerous,                 defective,              hazardous                 and         trap-like             inherently               dangerous                condition              of        an



         unmanned                  impeding                 pallet         jack          created          by     the        aforesaid               defendant                  either         individually                or     by         its



         employees,                 agents           and/or           servants             and      failed        to take            any       precautions                  or measures                  to    safeguard                the


         aforesaid            area.




                                                                                                                  4 of 9
FILED: KINGS COUNTY CLERK 05/26/2021 10:09 AM                                                                                                                                                     INDEX NO. 512578/2021
         Case
NYSCEF DOC.   1:21-cv-04591-DG-RLM
            NO. 1                  Document 1-1 Filed 08/16/21 Page 6RECEIVED
                                                                      of 26 PageID #: 10
                                                                              NYSCEF:  05/26/2021




         ELEVENTH:                       That         the     defendant                  LOWE'S                  HOME              CENTERS,              LLC          created            a dangerous             unsafe



         condition           in leaving             the      inherently              dangerous                   pallet     jack         and   pallets       in an aisle             where         patrons       would



         shop      and       it is foreseeable                      that      a patron             such          as the      plaintiff         would         be     injured           due     to the        improper,


         negligent           and        reckless            placement               of    the      pallet         jack      and      pallets       during          open         store      hours.



         TWELFTH:                       That       the      defendants                   LOWE'S                  HOME              CENTERS,              LLC          had       actual       and        constructive



         notice      of the         aforesaid               conditions              and       created             the     inherently            dangerous             unsafe            conditions.



         THIRTEENTH:                            That        the     incident           and        aforesaid             injuries         sustained       by plaintiffANDREA                               COOMBS


         were      caused          by     the    negligence                   and    carelessness                   of the         defendant         LOWE'S                HOME             CENTERS,                LLC.



         FOURTEENTH:                             That        by       reason        of the          foregoing,               plaintiff         ANDREA                 COOMBS                  sustained          severe



         and      painful          personal              injuries,             some          or     all     of     which           upon        information                and     belief          are     permanent;


         became           sick,     sore,        lame         and          disabled;            was       compelled                 to   submit        to hospital              and      medical           treatment;


         was      disabled          and         unable            to pursue            her        usual      activities.



         FIFTEENTH:                       That        by     reason           of the      foregoing,                 plaintiff           ANDREA              COOMBS                   has    been         damaged          in



         a sum       of money             having            a present           value           that      exceeds           the jurisdictional                   limits      of all       lower         courts   which



         would        otherwise                have        jurisdiction                of this         matter.



                       WHEREFORE                                  plaintiff         ANDREA                       COOMBS                  demands          judgment                against           the     defendant



         LOWE'S              HOME               CENTERS,                      LLC      in an amount                  having          a present       value         that     exceeds          thejurisdictional



         limits      of     all   lower          courts           which         would             otherwise               have      jurisdiction            of     this     matter



         Dated:       Garden             City,        New           York

                       May         26,     2021




                                                                                                                 5 of 9
FILED: KINGS COUNTY CLERK 05/26/2021 10:09 AM                                                                INDEX NO. 512578/2021
         Case
NYSCEF DOC.   1:21-cv-04591-DG-RLM
            NO. 1                  Document 1-1 Filed 08/16/21 Page 7RECEIVED
                                                                      of 26 PageID #: 11
                                                                              NYSCEF:  05/26/2021




                                             Yours,          etc.




                                             LAW         OFFICE                OF STEPMFÊH.                 FRA   .

                                             Attorneys              for   Plaintiff

                                             ANDREA                  COOMBS
                                             825      East      Gate       Boulevard,         Suite   104

                                             Garden          City,        New         York   11530

                                             (516)      742-0400




                                             6 of 9
FILED: KINGS COUNTY CLERK 05/26/2021 10:09 AM                                                                                       INDEX NO. 512578/2021
         Case
NYSCEF DOC.   1:21-cv-04591-DG-RLM
            NO. 1                  Document 1-1 Filed 08/16/21 Page 8RECEIVED
                                                                      of 26 PageID #: 12
                                                                              NYSCEF:  05/26/2021




                                                                               CERTIFICATION


                      The   within           Summons          and   Verified      Corñplaint   is hereby   certified   pursuant   to 22 N.Y.C.R.R.
         130-1.1-a.



         Dated:       Garden         City,    New      York

                      May      26,     2021




                                                                                                           Stephen     H.   Fra




                                                                                     7 of 9
FILED: KINGS COUNTY CLERK 05/26/2021 10:09 AM                                                                                               INDEX NO. 512578/2021
         Case
NYSCEF DOC.   1:21-cv-04591-DG-RLM
            NO. 1                  Document 1-1 Filed 08/16/21 Page 9RECEIVED
                                                                      of 26 PageID #: 13
                                                                              NYSCEF:  05/26/2021




                                                                             VERIFICATION


                   The   within           Summons           and   Verified         Complaint     is hereby       verified   by the   attorney   pursuant     to

         CPLR      § 3020(d)(3)           on   the    grounds       that     the   plaintiff   is not   in the     county   where    the   attomey    has   his
         office.



         Dated:    Garden         City,    New       York

                   May      26,    2021




                                                                                                                   ephen    H.   F




                                                                                     8 of 9
FILED: KINGS COUNTY CLERK 05/26/2021 10:09 AM                                                                                                  INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 1                 Document 1-1 Filed 08/16/21 Page 10 of 26 PageID
                                                                     RECEIVED       #: 14
                                                                               NYSCEF: 05/26/2021




         SUPREME                        COURT                 OF THE                  STATE                OF        NRW YORK
         COUNTY                     OF KINGS
         --------------------------------------
                                                                                       ---------------------------------X            Index   No.

         ANDREA                     COOMBS,


                                                                                  Plaintiff,



                                                  -against-




         LOWE'S                     HOME               CENTERS,                       LLC,


                                                                                   Defendant.

         ---------------------------------------------------------------------X




                                                     SUMMONS                        AND
                                        VERIFIED                       COMPLAINT



         -----------                        ¬--------------------------------------------
                                                                                                                            -----X



         LAW             OFFICE                    OF STEPHEN                           H.     FRANKEL
         Attorneys                for     Plaintiff

         ANDREA                     COOMBS
         825       East        Gate         Boulevard,                  Suite          104

         Garden             City,        New           York         11530

         (516)         742-0400




                                                                                                     9 of 9
FILED: KINGS COUNTY CLERK 06/15/2021 02:50 PM                                                                                                                                               INDEX NO. 512578/2021
NYSCEF  CaseNO.1:21-cv-04591-DG-RLM Document 1-1 Filed 08/16/21 Page 11 of 26 PageID   #: 15
 COUNTYDOC.
         OF KINGS 2     SUPREME COURT OF THE STATE OF NEW YORK        RECEIVED
                                                                         # as0s4x NYSCEF: 06/15/2021


 ANDREA           COOMBS,
                                                                                                                                Plaintiff(s)                         INDEX#           512578/2021
                                                            against                                                                                                 Date    filed


 LOWE'S          HOME       CENTERS,                 LLC
                                                                                                                                Defendant(s)

  STATE         OF NEW YORK                                                                                                      COUNTY             OF ALBANY                          2021002536




                                 SECRETARY                                       OF STATE                                   -        AFFIDAVIT                         OF SERVICE
 DAVID         TATUM      being duly swom,       deposes    and says that deponent   is not a party to this action,   is over the age of 18 years
 and     has   a pdricipal     place of business     in the County  of Albany, State of New York.     That on     6/972021    at 2:00 PM, at the office
 of the     Secretary      of State, of the State    of New York in the City of Albany,   New York at 99 Washington          Avsñüs,  he/she served     a
 true    copy     of a


 NOTICE            OF ELECTRONIC                              FILING,                SUMMONS                    AND              VERIFIED                COMPLAINT,


 on LOWE'S                HOME           CENTERS,                     LLC,            Defendant                 in this          action.


 By delivêdñg            to and       leaving with SUE                    ZOUKY,             authorized          agent            in the       office    of the    Secretary    of the State, State of New York,
 parscñsily        at the       office of the Secretary                     of State,        of the      State     of New              York,       two     (2) true copies     thereof  and that at the time of
 making   such service,   deponent                          paid    said         Secretary        of State        a fee           of $40.00,            unless    exempt     by law. That said service    was
 made   pursuant  to Section   303                      LLC


 Bearing        index     Number         and     Filing       Date         endorsed           thereon.


 [ ] Deponent            additionally          served         upon         the     above       named         defendant                one    (1) true copy           of the    RPAPL        SEC.    1303    Homeowner's
 Foreclosure            Notice which           was      printed           in bold,      14 point         font    size       and        printed   on colored            paper        which   is a color   other   than   said
                                                                                                                        .
 pleading

 Description                      Description           of the        Recipient             is as follows:


                                 A Female            with     White          skin,      Gray hair, who is approximately                                  55 years      of age
                                                                                                5' 2"
                                 and     has    an approximate                       height  of       and approximate                               weight        of 135   po••nds.

                                                                                                  follows'
                                 Other     idsatifying             feat               are    as                  None.




                                               DAV            TATUM
                                               Process             Server


 State      of New       York
 County         of Albany


 Swom       to before     me on This 10day of June
                                                                                                                                Miche8s M. Santspree                                   Emily M. Corbett
                                                                                                                                Notary Pubile, State of New York                       Notary Public, slate of New York
                                                                                                                                NO. 018A5047611                                        No. 01006299470
                            Notary Public -                           . sa                                                      Q ualfled in Albany County                             Quallfled in Albany County
                                                                                                                                Commission Expires August 7,2021                       Commission Expires March 24, 2022



                  ELITE     LEGAL        SERVICES              OF NY, INC. - 16-D3                    FRANCES                   LEWIS       BLVD        - WHITESTONE,           NY 11357       - 718-831-9060




                                                                                                                 1 of 1
FILED: KINGS COUNTY CLERK 07/01/2021 11:18 AM                                                INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 3                 Document 1-1 Filed 08/16/21 Page 12 of 26 PageID
                                                                     RECEIVED       #: 16
                                                                               NYSCEF: 07/01/2021



         STATE OF NEW YORK
         SUPREME COURT : COUNTY OF KINGS

         ANDREA COOMBS,

                                              Plaintiff,             VERIFIED ANSWER
         v.
                                                                     Index No.: 512578/2021
         LOWE’S HOME CENTERS, LLC,

                                              Defendant.


                  Defendant, Lowe’s Home Centers, LLC (“Lowe’s”), by its attorneys, Goldberg Segalla

         LLP, for its Verified Answer to the plaintiff’s Verified Complaint, responds as follows:

                  1.    Lowe’s admits the allegations contained in paragraph FIRST of the Verified

         Complaint.

                  2.    Lowe’s admits the allegations contained in paragraph SECOND of the Verified

         Complaint.

                  3.    In response to paragraph THIRD of the Verified Complaint, Lowe’s admits that it

         leased the premises located at 253-01 Rockaway Boulevard, Rosedale, New York 11422 for the

         purpose of operating a retail home improvement store on the premises, and denies any remaining

         allegations contained in paragraph THIRD of the Verified Complaint.

                  4.    In response to paragraph FOURTH of the Verified Complaint, Lowe’s admits that

         it operated a retail store on the premises located at 253-01 Rockaway Boulevard, Rosedale, New

         York 11422, and denies any remaining allegations contained in paragraph FOURTH of the

         Verified Complaint.

                  5.    Lowe’s denies the allegations contained in paragraph FIFTH of the Verified

         Complaint.

                  6.    Lowe’s denies the allegations contained in paragraph SIXTH of the Verified

         Complaint.
                                                           1
         30326960.v1


                                                      1 of 7
FILED: KINGS COUNTY CLERK 07/01/2021 11:18 AM                                            INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 3                 Document 1-1 Filed 08/16/21 Page 13 of 26 PageID
                                                                     RECEIVED       #: 17
                                                                               NYSCEF: 07/01/2021



                  7.    Lowe’s denies having knowledge or information sufficient to form a belief as to

         the allegations contained in paragraph SEVENTH of the Verified Complaint.

                  8.    Paragraph EIGHTH of the Verified Complaint calls for a legal conclusion to

         which no response is required. To the extent that a response is required, Lowe’s denies the

         allegations contained in paragraph EIGHTH of the Verified Complaint.

                  9.    Lowe’s denies the allegations contained in paragraph NINTH of the Verified

         Complaint.

                  10.   Lowe’s denies the allegations contained in paragraph TENTH of the Verified

         Complaint.

                  11.   Lowe’s denies the allegations contained in paragraph ELEVENTH of the Verified

         Complaint.

                  12.   Lowe’s denies the allegations contained in paragraph TWELFTH of the Verified

         Complaint.

                  13.   Lowe’s denies the allegations contained in paragraph THIRTEENTH of the

         Verified Complaint.

                  14.   Lowe’s denies the allegations contained in paragraph FOURTEENTH of the

         Verified Complaint.

                  15.   Lowe’s denies the allegations contained in paragraph FIFTEENTH of the Verified

         Complaint.

                  16.   Lowe’s denies each and every other allegation of the Verified Complaint not

         previously specifically admitted, denied, or otherwise controverted.

               AS AND FOR A FIRST SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
                        LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  17.   The injuries and/or damages alleged in the Verified Complaint were caused in

         whole or in part by plaintiff’s culpable conduct.
                                                             2
         30326960.v1


                                                       2 of 7
FILED: KINGS COUNTY CLERK 07/01/2021 11:18 AM                                                      INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 3                 Document 1-1 Filed 08/16/21 Page 14 of 26 PageID
                                                                     RECEIVED       #: 18
                                                                               NYSCEF: 07/01/2021



                       AS AND FOR A SECOND SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  18.     If Lowe’s is found liable to the plaintiff, its responsibility for the accident is less

         than fifty-one percent (51%) of the total liability assigned to all persons liable and, therefore, any

         recovery by the plaintiff for non-economic loss against Lowe’s should be limited to its

         percentage of liability.

              AS AND FOR A THIRD SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
                       LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  19.     The Verified Complaint fails to state a cause of action against Lowe’s.

                       AS AND FOR A FOURTH SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  20.     The plaintiff’s injuries, if any, were caused in whole or in part by a person or

         persons who are not within the control of Lowe’s.

               AS AND FOR A FIFTH SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
                        LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  21.     That pursuant to CPLR §4545 and other applicable sections of the CPLR, Lowe’s

         is entitled to a set off against the amount of any verdict of any monies collected from a collateral

         source of payment.

               AS AND FOR A SIXTH SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
                        LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  22.     Plaintiff failed to mitigate her alleged damages.

                       AS AND FOR A SEVENTH SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  23.     The underlying incident and alleged resulting injuries were not proximately

         caused by any action or inaction of Lowe’s.

                       AS AND FOR AN EIGHTH SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  24.     Plaintiff assumed the risk of the incident and any resulting injuries.
                                                            3
         30326960.v1


                                                         3 of 7
FILED: KINGS COUNTY CLERK 07/01/2021 11:18 AM                                                   INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 3                 Document 1-1 Filed 08/16/21 Page 15 of 26 PageID
                                                                     RECEIVED       #: 19
                                                                               NYSCEF: 07/01/2021



              AS AND FOR A NINTH SEPARATE AND COMPLETE AFFIRMATIVE DEFENSE,
                       LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  25.     In the event the plaintiff seeks to recover a verdict or judgment against Lowe’s,

         the verdict or judgment must exclude or be reduced by those amounts which have been, or will

         with reasonable certainty replace or indemnify the plaintiff, in whole or in part, for any past or

         future medical costs, health care, life care, or other economic loss or the benefit that is offered or

         provided under or in connection with the Patient Protection and Affordable Care Act.

                        AS AND FOR A TENTH SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  26.     Lowe’s did not receive requisite notice of any alleged dangerous conditions set

         forth in plaintiff’s Verified Complaint.

                  AS AND FOR AN ELEVENTH SEPARATE AND COMPLETE AFFIRMATIVE
                     DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  27.     Plaintiff’s conduct was the sole proximate cause of the incident.

                       AS AND FOR A TWELFTH SEPARATE AND COMPLETE AFFIRMATIVE
                        DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  28.     If the plaintiff receives or has received sums of money in settlement of the claims

         asserted herein, Lowe’s is entitled to the protection, provisions, and limitations of Section 15-108

         of the General Obligations Law of the State of New York.

                 AS AND FOR A THIRTEENTH SEPARATE AND COMPLETE AFFIRMATIVE
                    DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  29.     All risks and dangers at the time and place set forth as the location of the incident

         as alleged in the Verified Complaint were open, obvious, and apparent.

                 AS AND FOR A FOURTEENTH SEPARATE AND COMPLETE AFFIRMATIVE
                     DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  30.     Any alleged injuries and/or expenses resulted from the pre-existing and/or

         unrelated medical conditions, injuries, or illnesses of the plaintiff.

                                                            4
         30326960.v1


                                                        4 of 7
FILED: KINGS COUNTY CLERK 07/01/2021 11:18 AM                                                  INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 3                 Document 1-1 Filed 08/16/21 Page 16 of 26 PageID
                                                                     RECEIVED       #: 20
                                                                               NYSCEF: 07/01/2021



                   AS AND FOR A FIFTEENTH SEPARATE AND COMPLETE AFFIRMATIVE
                     DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  31.      There may be documentary evidence exists which establishes a complete defense

         to this action.

                   AS AND FOR A SIXTEENTH SEPARATE AND COMPLETE AFFIRMATIVE
                     DEFENSE, LOWE’S ALLEGES, UPON INFORMATION AND BELIEF:

                  32.      Lowe’s reserves the right to amend this Answer and to add any applicable

         affirmative defenses after it has had discovery of the relevant facts.

                  WHEREFORE, Lowe’s demands judgment as follows:

                           a.    Dismissing the Verified Complaint, or

                           b.    Reducing plaintiff’s recovery in the proportion to which the plaintiff’s

         culpable conduct caused the alleged damages;

                           c.     Limiting plaintiff’s recovery for non-economic loss against Lowe’s to the

         percentage of responsibility attributed to Lowe’s, if that percentage is less than fifty-one percent

         (51%); and

                           d.    Such other and further relief as to this Court may seem just, proper, and

         equitable together with the costs and disbursements of this action.


         Dated: Buffalo, New York
                July 1, 2021

                                                               GOLDBERG SEGALLA LLP



                                                               Kenneth L. Bostick, Jr., Esq.
                                                               Attorneys for Defendant
                                                               Lowe’s Home Centers, LLC
                                                               665 Main Street
                                                               Buffalo, New York 14203
                                                               (716) 566-5400



                                                           5
         30326960.v1


                                                       5 of 7
FILED: KINGS COUNTY CLERK 07/01/2021 11:18 AM                               INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 3                 Document 1-1 Filed 08/16/21 Page 17 of 26 PageID
                                                                     RECEIVED       #: 21
                                                                               NYSCEF: 07/01/2021



         TO:      Stephen H. Frankel, Esq.
                  LAW OFFICE OF STEPHEN H. FRANKEL
                  Attorneys for Plaintiff
                  825 East Gate Boulevard, Suite 104
                  Garden City, New York 11530
                  (516) 742-0400




                                                6
         30326960.v1


                                             6 of 7
FILED: KINGS COUNTY CLERK 07/01/2021 11:18 AM                              INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.  1:21-cv-04591-DG-RLM
                3                 Document 1-1 Filed 08/16/21 Page 18 of 26 PageID
                                                                    RECEIVED       #: 22
                                                                             NYSCEF:  07/01/2021




                                             7 of 7
FILED: KINGS COUNTY CLERK 08/06/2021 10:21 AM                                                                                                                          INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 4                 Document 1-1 Filed 08/16/21 Page 19 of 26 PageID
                                                                     RECEIVED       #: 23
                                                                               NYSCEF: 08/06/2021



         SUPREME                    COURT           OF THE                STATE              OF       NEW YORK
         COUNTY                  OF KINGS
         --------------------------                                       ----                    -----------------X               Index   No.      512578/2021

         ANDREA                  COOMBS,


                                                                         Plaintiff,
                                                                                                                                             Hon.




                                                                                                                                             Justice,      Supreme       Court
                                                       -against-

                                                                                                                                             REQUEST              FOR
                                                                                                                                   PRELIMINARY                CONFERENCE



         LOWE'S              HOME             CENTERS,                   LLC,


                                                                         Defendants.
         -----------                         ------------------------------------------------X
         The      undersigned                requests            Judicial             Intervention.



         The      nature         of the      action        is:     Negligence.



         The      names,            addresses          and       telephone               numbers         of   all      attorneys     appearing       in the   action    are   as
         follows:



         Attorneys            for     Plaintiff:



         LAW           OFFICE               OF     STEPHEN                       H.     FRANKEL
          825     East      Gate       Boulevard,                Suite       104

         Garden          City,        New       York         11530

         (516)         742-0400



         Attorneys            for     Defendants:



         GOLDBERGSEGALLALLP
         665      Main        Street

         Buffalo,          New        York         14203-1425

         (716)         566-5400



         Dated:          Garden         City,      New           York

                         August         6, 2021




                                                                                                       1 of 6
FILED: KINGS COUNTY CLERK 08/06/2021 10:21 AM                                                              INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 4                 Document 1-1 Filed 08/16/21 Page 20 of 26 PageID
                                                                     RECEIVED       #: 24
                                                                               NYSCEF: 08/06/2021




                                             Stephen            . F

                                             LAW         OF                 OF STEPHEN              H.    FRANKEL
                                             Attorneys          for   Plaintiff

                                             ANDREA                 COOMBS
                                             825     East     Gate     Boulevard          - Suite   104

                                             Garden         City,     New         York   11530

                                             (516)     742-0400




                                             2 of 6
FILED: KINGS COUNTY CLERK 08/06/2021 10:21 AM                                                                                                   INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 4                 Document 1-1 Filed 08/16/21 Page 21 of 26 PageID
                                                                     RECEIVED       #: 25
                                                                               NYSCEF: 08/06/2021




                                                                             CERTIFICATION


              The       within      Plaintiff's         Request       for    a Preliminary        Conference      and   Request        for   Judicial

         Intervention            is hereby        certified       pursuant      to   22   N.Y.C.R.R.      130-1.1-a.



         Dated:     Garden          City,     New       York

                    August          6, 2021




                                                                                                                          .   rankel




                                                                                      3 of 6
FILED: KINGS COUNTY CLERK 08/06/2021 10:21 AM                                                                                                               INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 4                 Document 1-1 Filed 08/16/21 Page 22 of 26 PageID
                                                                     RECEIVED       #: 26
                                                                               NYSCEF: 08/06/2021




                                                                                VERIFICATION


                      The   within         Plaintiff's            Request      for   a Preliminary          Conference         and     Request        for    Judicial
         Intervention          is hereby         verified          by   the   attorney     pursuant        to    CPLR      § 3020(d)(3)          on   the    grounds    that

         the   plaintiff       is not      in the        county      where     the   attorney        has   his   office.



         Dated:       Garden       City,      New         York

                      August       6, 2021




                                                                                                                   S                 . Frankel




                                                                                         4 of 6
FILED: KINGS COUNTY CLERK 08/06/2021 10:21 AM                                                                                                                              INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 4                 Document 1-1 Filed 08/16/21 Page 23 of 26 PageID
                                                                     RECEIVED       #: 27
                                                                               NYSCEF: 08/06/2021




                                                                               AFFIRMATION                        OF     SERVICE


                          Stephen        H.      Frankel,          an attorney                 admitted        to practice     in the    Courts       of the       State       of New        York,
         affirms          the   following            under          penalties             of perjury:



                      That         I am the        principal                 of the     LAW        OFFICE          OF STEPHEN                 H. FRANKEL,                attorneys          for   the

         plaintiff         herein.          On     August               6,     2021       I served        on      GOLDBERG               SEGALLA                   LLP         the   following
         documents              relating         to the      Andrea                   Coombs        v. Lowe's          Home       Centers,         LLC       (Supreme            Court       of the
         State       of New          York        County            of        Kings)       action



          1. Plaintiff's            Request          for     a Preliminary                     Conference          and    Request       for    Judicial       Intervention;
         2. Attorney            Certification;
         3. Attorney            Verification;                and

         4. Copy           of this     Proof         of     Service.



         by    E-filing         a true        electronic            copy          thereof        on NYSCEF-              at https://iapps.courts.state.ny.us/                            under
         Index       Number            512578/2021,                      addressed              to the    email     address(es)         as listed         in the    E-filing         Case
         Detail       of the        adressee          as indicated                    below:



         GOLDBERGSEGALLALLP
         Kenneth           L.   Bostick,           Jr.,     Esq.        kbostick@goldbergsegalla.com




         Dated:           Garden       City,        New        York

                      August           6, 2021




                                                                                                                                              H.   Frankel




                                                                                                      5 of 6
FILED: KINGS COUNTY CLERK 08/06/2021 10:21 AM                                                                                                         INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 4                 Document 1-1 Filed 08/16/21 Page 24 of 26 PageID
                                                                     RECEIVED       #: 28
                                                                               NYSCEF: 08/06/2021




         SUPREME                          COURT               OF THE                STATE                  OF      NEW YORK
         COUNTY                      OF KINGS
         ----------------------------                              ----------------------------------------X                             Index        No.

         ANDREA                      COOMBS,                                                                                             512578/2021




                                                                                                      Plaintiff,



                                               -against-




         LOWE'S                     HOME               CENTERS,                     LLC,


                                                                                                   Defendants.

                                             ----------------------------------------------------XAugust                                         4,   2021




         REQUEST                          FOR          PRELIMINARY                              CONFERENCE                           &
         REQUEST                          FOR          JUDICIAL                   INTERVENTION



         _________________________________                                           ------
                                                                                                                   --------------X

         LAW             OFFICE                 OF STEPHEN                            H.      FRANKEL
         Attorneys                  for    Plaintiff

         ANDREA                      COOMBS
         825       East        Gate         Boulevard,                 Suite        104

         Garden             City,         New          York        11530

         (516)          742-0400




                                                                                                  6 of 6
FILED: KINGS COUNTY CLERK 08/06/2021 10:21 AM                                                                                                               INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 5                 Document 1-1 Filed 08/16/21 Page 25 of 26 PageID
                                                                     RECEIVED       #: 29
                                                                               NYSCEF: 08/06/2021
                                                                                                                                                                                 UCS-840
                                        REQUEST FOR JUDICIAL INTERVENTION                                                                                                   (rev. 07/29/2019)

                                                              Kings Supreme COURT, COUNTY OF Kings

                                   Index No: 512578/2021                                           Date Index Issued:                 05/26/2021                         For Court Use Only:

 CAPTION             Enter the complete case caption. Do not use et al or et ano. If more space is needed, attach a caption rider sheet.                                    IAS Entry Date

  ANDREA COOMBS

                                                                                                                                                                           Judge Assigned

                                                                                                                                            Plaintiff(s)/Petitioner(s)
 -against-

  LOWE'S HOME CENTERS, LLC
                                                                                                                                                                            RJI Filed Date



                                                                                                                                        Defendant(s)/Respondent(s)
 NATURE OF ACTION OR PROCEEDING:                              Check only one box and specify where indicated.
 COMMERCIAL                                                                                       MATRIMONIAL

  ☐    Business Entity (includes corporations, partnerships, LLCs, LLPs, etc.)                      ☐      Contested
                                                                                                           NOTE: If there are children under the age of 18, complete and attach the
  ☐    Contract                                                                                            MATRIMONIAL RJI Addendum (UCS-840M).
  ☐    Insurance (where insurance company is a party, except arbitration)
                                                                                                           For Uncontested Matrimonial actions, use the Uncontested Divorce RJI (UD-13).
  ☐    UCC (includes sales and negotiable instruments)

  ☐    Other Commercial (specify):
                                                                                                  TORTS
 NOTE: For Commercial Division assignment requests pursuant to 22 NYCRR 202.70(d),
 complete and attach the COMMERCIAL DIVISION RJI ADDENDUM (UCS-840C).                               ☐   Asbestos

 REAL PROPERTY:             Specify how many properties the application includes:
                                                                                                    ☐   Child Victims Act

                                                                                                    ☐   Environmental (specify):

  ☐    Condemnation                                                                                 ☐   Medical, Dental, or Podiatric Malpractice

  ☐    Mortgage Foreclosure (specify):    ☐    Residential           ☐    Commercial                ☐   Motor Vehicle
       Property Address:                                                                            ☐   Products Liability (specify):

       NOTE: For Mortgage Foreclosure actions involving a one to four-family, owner-                ☐   Other Negligence (specify):
       occupied residential property or owner-occupied condominium, complete and                    ☐   Other Professional Malpractice (specify):
       attach the FORECLOSURE RJI ADDENDUM (UCS-840F).                                                  Other Tort (specify): PREMISES LIABLITY
                                                                                                    ☒
  ☐    Tax Certiorari - Section:                  Block:                  Lot:
                                                                                                  SPECIAL PROCEEDINGS
  ☐    Tax Foreclosure

  ☐    Other Real Property (specify):                                                               ☐   CPLR Article 75 (Arbitration)     [see NOTE in COMMERCIAL section]

 OTHER MATTERS
                                                                                                    ☐   CPLR Article 78 (Body or Officer)

                                                                                                    ☐   Election Law
  ☐    Certificate of Incorporation/Dissolution   [see NOTE in COMMERCIAL section]
                                                                                                    ☐   Extreme Risk Protection Order
  ☐    Emergency Medical Treatment
                                                                                                    ☐   MHL Article 9.60 (Kendra's Law)
  ☐    Habeas Corpus
                                                                                                    ☐   MHL Article 10 (Sex Offender Confinement-Initial)
  ☐    Local Court Appeal
                                                                                                    ☐   MHL Article 10 (Sex Offender Confinement-Review)
  ☐    Mechanic's Lien
                                                                                                    ☐   MHL Article 81 (Guardianship)
  ☐    Name Change
                                                                                                    ☐   Other Mental Hygiene (specify):
  ☐    Pistol Permit Revocation Hearing
                                                                                                    ☐   Other Special Proceeding (specify):
  ☐    Sale or Finance of Religious/Not-for-Profit Property

  ☐    Other (specify):

 STATUS OF ACTION OR PROCEEDING:                              Answer YES or NO for every question and enter additional information where indicated.
                                                                                          YES     NO
      Has a summons and complaint or summons with notice been filed?                       ☒      ☐             If yes, date filed:        05/26/2021

      Has a summons and complaint or summons with notice been served?                      ☒      ☐             If yes, date served:       06/09/2021

      Is this action/proceeding being filed post-judgment?                                 ☐      ☒             If yes, judgment date:

 NATURE OF JUDICIAL INTERVENTION:                             Check one box only and enter additional information where indicated.
 ☐    Infant's Compromise

 ☐    Extreme Risk Protection Order Application

 ☐    Note of Issue/Certificate of Readiness
                                                                 Date Issue Joined:
 ☐    Notice of Medical, Dental, or Podiatric Malpractice
                                                                 Relief Requested:                                                                         Return Date:
 ☐    Notice of Motion
                                                                 Relief Requested:                                                                         Return Date:
 ☐    Notice of Petition
                                                                 Relief Requested:                                                                         Return Date:
 ☐    Order to Show Cause
                                                                 Relief Requested:
 ☐    Other Ex Parte Application

 ☐    Poor Person Application

 ☒    Request for Preliminary Conference

 ☐    Residential Mortgage Foreclosure Settlement Conference

 ☐    Writ of Habeas Corpus

 ☐    Other (specify):




                                                                                            1 of 2
FILED: KINGS COUNTY CLERK 08/06/2021 10:21 AM                                                                                                    INDEX NO. 512578/2021
        CaseNO.
NYSCEF DOC.   1:21-cv-04591-DG-RLM
                 5                 Document 1-1 Filed 08/16/21 Page 26 of 26 PageID
                                                                     RECEIVED       #: 30
                                                                               NYSCEF: 08/06/2021

 RELATED CASES:               List any related actions. For Matrimonial cases, list any related criminal or Family Court cases. If none, leave blank. If additional space
                              is required, complete and attach the RJI Addendum (UCS-840A).
 Case Title                          Index/Case Number                Court                              Judge (if assigned)                 Relationship to instant case




 PARTIES:                     For parties without an attorney, check the "Un-Rep" box and enter the party's address, phone number and email in the space
                              provided. If additional space is required, complete and attach the RJI Addendum (UCS-840A).
          Parties                                        Attorneys and/or Unrepresented Litigants                                      Issue Joined            Insurance
  Un-
  Rep     List parties in same order as listed in the    For represented parties, provide attorney's name, firm name, address, phone   For each defendant,     For each defendant,
          caption and indicate roles (e.g., plaintiff,   and email. For unrepresented parties, provide party's address, phone and      indicate if issue has   indicate insurance
          defendant; 3rd party plaintiff, etc.)          email.                                                                        been joined.            carrier, if applicable.

          Name: COOMBS, ANDREA                           STEPHEN FRANKEL, LAW OFFICE OF STEPHEN H FRANKEL,
  ☐                                                      825 East Gate Boulevard Suite 104, Garden City, NY                            ☒ YES ☐ NO
          Role(s): Plaintiff/Petitioner                  11530, 516-742-0400, tortesq1@gmail.com

          Name: LOWE'S HOME CENTERS,                     KENNETH BOSTICK JR., Goldberg Segalla LLP, 665 Main St
  ☐       LLC                                            , Buffalo, NY 14203, kbostick@goldbergsegalla.com                             ☒ YES ☐ NO
          Role(s): Defendant/Respondent

          Name:
  ☐                                                                                                                                    ☐ YES ☐ NO
          Role(s):

          Name:
  ☐                                                                                                                                    ☐ YES ☐ NO
          Role(s):

          Name:
  ☐                                                                                                                                    ☐ YES ☐ NO
          Role(s):

          Name:
  ☐                                                                                                                                    ☐ YES ☐ NO
          Role(s):

          Name:
  ☐                                                                                                                                    ☐ YES ☐ NO
          Role(s):

          Name:
  ☐                                                                                                                                    ☐ YES ☐ NO
          Role(s):

          Name:
  ☐                                                                                                                                    ☐ YES ☐ NO
          Role(s):

          Name:
  ☐                                                                                                                                    ☐ YES ☐ NO
          Role(s):


   I AFFIRM UNDER THE PENALTY OF PERJURY THAT, UPON INFORMATION AND BELIEF, THERE ARE NO OTHER RELATED ACTIONS OR
     PROCEEDINGS, EXCEPT AS NOTED ABOVE, NOR HAS A REQUEST FOR JUDICIAL INTERVENTION BEEN PREVIOUSLY FILED IN THIS
                                                ACTION OR PROCEEDING.

 Dated:       08/06/2021                                                                                               STEPHEN H FRANKEL
                                                                                                                                Signature

                                         2245512                                                                       STEPHEN H FRANKEL
                          Attorney Registration Number                                                                         Print Name
                                                                          This form was generated by NYSCEF




                                                                                    2 of 2
